Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 1 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 2 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 3 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 4 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 5 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 6 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 7 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 8 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 9 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 10 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 11 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 12 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 13 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 14 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 15 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 16 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 17 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 18 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 19 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 20 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 21 of 22
Case 1:16-cv-06284-AT-VF Document 206 Filed 03/14/18 Page 22 of 22
